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IN THE UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA,
Plaintiff,

vs.

Cr. No. 98-20293(G)Bre

XAVIER TODD,

Defendant.

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ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
ORDER TO COMPLY WITH PLRA
A.ND
ORDER ASSESSING APPELLATE FILING FEE

 

On May 23, 2005, Defendant, Xavier Todd, Bureau of Prisons
(BOP) inmate registration number 16647»076, an inmate at the
Federal Correctional Institution in Memphis, Tennessee, filed a
notice of appeal from the Court’s order of May 12, 2005, Which
denied two irregular motions in his closed criminal case. Todd
also requests permission to proceed ip ;p;mg pauperis on appeal.

The Court reaffirms its previous certification pursuant to
Fed. R. App. 24(a) that no reasonable jurist could disagree that
this Court is without jurisdiction to modify defendant's sentence,
therefore, Todd's appeal is not taken in good faith and he may not
proceed ip §Q;ma pauperis on appeal.

The United States Court of Appeals for the Sixth Circuit has

held that a certification that an appeal is not taken in good faith

  

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with Ru|e 55 and/or 32(b) FHCrP on 2 §§ O§

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does not affect an indigent prisoner plaintiff's ability to take
advantage of the installment procedures contained in § 1915(b).
McGore v. Wrigglesworth, 114 F.3d 601, 610-ll (6th Cir. 1997).

In order to take advantage of these procedures, however, the
plaintiff must properly complete and submit both_ an_ ip _fppmg

pauperis affidavit and a prison trust fund account statement

showing:
l) the average monthly deposits, and
2) the average monthly balance

for the six months prior to the filing of the notice of appeal, and

3) the account balance when the notice of appeal was
submitted.

As the plaintiff has filed neither of these documents, he is
ORDERED to properly complete and file both an ip §p;ma pauperis
affidavit and a trust fund account statement showing the above
amounts within thirty (30) days of the entry of this Order. If he
needs additional time to file the documents, he may request one
thirty-day extension of time from this Court. McGore, 114 F.3d at
610. The Clerk of Court will provide the plaintiff a copy of the
correct affidavit form with this order.

It is further ORDERED that, pursuant to 28 U.S.C. § 1915(b),
the trust fund officer at plaintiff's prison shall calculate a
partial appellate filing fee equal to twenty percent (20%) of the
greater of the average balance in or deposits to the plaintiff's

trust fund account for the six months immediately preceding the

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notice of appeal. When the account contains any funds, the trust
fund officer shall collect them and pay them directly to the clerk
of court. If the funds in plaintiff's account are insufficient to
pay the full amount of the partial appellate filing fee, the prison
official is instructed to withdraw all of the funds in the
plaintiff's account and forward them to the clerk of court. On
each occasion that funds are subsequently credited to plaintiff's
account the prison official shall immediately withdraw those funds
and forward them to the clerk of court, until the partial appellate
filing fee is paid in full.

It is further ORDERED that after the partial appellate filing
fee is fully paid, the trust fund officer shall withdraw from the
plaintiff's account and pay to the clerk of this court monthly
payments equal to twenty percent (20%) of all deposits credited to
plaintiff's account during the preceding month, but only when the
amount in the account exceeds $10.00, until the entire $255.00
filing fee is paid.

Each time that the trust fund officer makes a payment to the
court as required by this order, he shall print a copy of the
prisoner's account statement showing all activity in the account
since the last payment under this order and file it with the clerk
along with the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western. District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

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and shall clearly identify plaintiff's name, inmate number and the
case number on the first page of this order.

The plaintiff shall cooperate with prison officials in the
making of these payments. If plaintiff is transferred to a
different prison or released, he is ORDERED to notify the court
immediately of his change of address. If still confined he shall
provide the officials at the new prison with a copy of this order.

The Clerk will mail a copy of this order to the official in
charge of prisoner trust fund accounts at the FCI Memphis and to
the United States Court of Appeals for the Sixth Circuit.

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IT IS SO ORDERED this l day o , 2005.

 

. ANIEL BREEN \
UNI ED sTATEs DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
case 2:98-CR-20293 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

